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 1    STEPHANIE YONEKURA
      Acting United States Attorney
 2    ROBERT E. DUGDALE
      Assistant United States Attorney
 3    Chief, Criminal Division
      STEVEN R. WELK
 4    Assistant United States Attorney
      Chief, Asset Forfeiture Section
 5    CHRISTEN A. SPROULE
      Assistant United States Attorney
 6    LUCAS E. ROWE (CBN: 298697)
      Special Assistant United States Attorney
 7    Asset Forfeiture Section
      California Bar No. Pending
 8     Federal Courthouse, 14th Floor
       312 North Spring Street
 9     Los Angeles, California 90012
       Telephone: (213) 894-4493
10     Facsimile: (213) 894-7177
       E-mail: Christen.A.Sproule@usdoj.gov
11              Lucas.Rowe@usdoj.gov
12    Attorneys for Plaintiff
      UNITED STATES OF AMERICA
13
                              UNITED STATES DISTRICT COURT
14
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
                                     SOUTHERN DIVISION
16
      UNITED STATES OF AMERICA,                  NO. SACV 13-907 DOC (JPRx)
17

18
                 Plaintiff,
                                                 NOTICE OF LODGING [PROPOSED]
19
                        v.                       JUDGMENT

20
      ONE 2006 LAMBORGHINI
      MURCIELAGO
21
                Defendant
22    _______________________________
23
      NEXTGEAR CAPITAL, INC.,
24
            Claimant.
25

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27
            TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
28
     Case 8:13-cv-00907-DOC-JPR Document 76 Filed 06/19/15 Page 2 of 2 Page ID #:764




 1          PLEASE TAKE NOTICE that plaintiff herewith lodges its Proposed Judgment.
 2

 3    Approved as to form and content,
 4
      DATED: June 19, 2015                 STEPHANIE YONEKURA
 5                                         Acting United States Attorney

 6                                         ROBERT E. DUGDALE
                                           Assistant United States Attorney
 7                                         Chief, Criminal Division
                                           STEVEN R. WELK
 8                                         Assistant United States Attorney
                                           Chief, Asset Forfeiture Section
 9
                                              /s/ Lucas E. Rowe
10                                         CHRISTEN A. SPROULE
11                                         LUCAS E. ROWE
                                           Assistant United States Attorneys
12
                                           Attorneys for Plaintiff
13                                         UNITED STATES OF AMERICA

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